                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
MTK                                                271 Cadman Plaza East
F. #2016R00664                                     Brooklyn, New York 11201


                                                   June 10, 2019

By ECF

The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Jason Christopher Hughes
                      Criminal Docket No. 17-173 (MKB)

Dear Judge Brodie:

               The government respectfully submits this letter in advance of the defendant
Jason Christopher Hughes’ sentencing in the above-captioned case, which is scheduled for
June 14, 2019 at 10:00 a.m. On December 18, 2017, the defendant pleaded guilty pursuant
to a plea agreement before the Honorable Steven M. Gold, United States Magistrate Judge, to
two counts of transmitting threats to injure, in violation of 18 U.S.C. § 875(c). For the
reasons set forth below, the government respectfully requests that the Court accept the
defendant’s guilty plea and impose a sentence at the top-end of what the government submits
is the applicable United States Sentencing Guidelines (“Guidelines” or “USSG”) range of 12
to 18 months’ imprisonment.

  I.   Background

       A. Jane Doe #1 (Count One)

                The Pre-Sentence Investigation Report (“PSR”) accurately sets forth the
offense conduct. Between March 16, 2015 and March 20, 2015, the defendant sent multiple
threatening emails to Jane Doe #1. Jane Doe #1 and the defendant became pen pals in the
late 1970s when both were in the 4th grade. During that time period, Jane Doe #1 stated that
the defendant sent her hundreds of letters detailing the terrible nature of his home and life.
At first, Jane Doe #1 responded to the defendant’s letters with words of support and comfort.
However, the subject matter of the defendant’s letters became increasingly dark and
threatening over a period of years. When Jane Doe #1 attempted to break off correspondence
with the defendant due to the threatening nature of his letters, the defendant replied that Jane
Doe #1 and his cats were the only two reasons why he was not killing himself. Jane Doe #1
also reported that the defendant’s letters referenced the teachings of the occult, cannibalism,
writings on anarchism, and his hatred of authority.

               During the course of the late 1980s and 1990s, the defendant’s letters to Jane
Doe #1 became increasingly disturbing and threatening. During Jane Doe #1’s freshman
year at college, the defendant showed up unannounced to Jane Doe’s dormitory after she had
ceased responding to his letters. In subsequent letters following the visit, the defendant
threatened to kill Jane Doe #1’s family and loved ones.

              Jane Doe #1 stated that she attempted to obtain restraining orders against the
defendant, but since he resided in Billings, Montana and she resided in Kansas, she was
unable to procure the orders. Following her marriage, Jane Doe #1 reported that the
defendant began sending threatening letters to her in-laws which stated that he knew Jane
Doe #1 was now married. Due to the defendant’s incessant letter writing and stalking, Jane
Doe #1 and her husband moved overseas where she subsequently became a teacher and
attempted to keep a low profile. It did not work. In March of 2015, the defendant located
Jane Doe #1 and resumed sending threatening messages to her. The messages contained
such threatening statements as:

           i.     “consider yourself very very lucky indeed that I don’t dare bring Darkness
                  right to your classroom or front door. See I don’t like children. I actually
                  hate them. I laugh when one of them is abducted or falls under a train or is
                  eaten by wild dogs. This is who I am, and You Helped Create Me.”

           ii.    “Things I have done . . . they would cool your blood beyond ice. You
                  would wish you had never been born to not have known some of the
                  horrendous things I have done. but since YOU were the original person
                  who inspired me to choose Evil? EVIL BE THOU MY GOOD! know
                  this: I did my early Works? I DID THEM IN YOUR NAME! and no I
                  will never get caught . . . I take care upon care upon care to bury very, very
                  deeply . . . .”

           iii.   “they last thing they ever hear?” “it is a__name__. . . whispered and then
                  the All Too Brief . . .end. it is better to kill a soul, that NEVER ENDS.”

           iv.    “I have decided to come out of ‘retirement’” “I am going to do something
                  . . . something really terrible . . . and it will be? Because I am reminded of
                  YOU. You will again be the inspiration for my Work. road trip . . . . . . . .I
                  never shit where I eat. taking the wet_far away is the single most
                  important thing one can do . . . never get caught! You should have
                  apologized, given this opportunity. You chose to remain silent. Someone
                  else gets to pay the bill now . . . someone young . . . bright . . . hopeful . .
                  like a college student.




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       B. Jane Doe #2 (Count Six)

             In September 2015, the defendant was exchanging social media posts with
Jane Doe #2. Shortly after this exchange, Jane Doe #2 began to receive emails on both her
work and personal email accounts from the defendant. On September 19, 2015, the
defendant emailed Jane Doe #2 and sent the following threatening statements:

                         How to Make a Your Own Pet Owl

              Take one human. smash the arms, legs knees with a sledge
              hammer. bend the twisted limbs around a perch in a large iron
              cage. bind the limbs so they grow into place. insert a PEG tube
              directly into the stomach for liquid feeding. nasal feeding gets in
              the way of the next stage. bust out all of the teeth. remove the
              tongue. blinding is a nice option at this stage, but you might want
              to wait on that to set the unfinished owl in front of a large mirror
              for some weeks. cut the cheeks midline, break the lower jaw and
              collapse the pallet. at this point a stomach tube might be left with
              the facial remnants formed into a “beak.” keep a bucket
              underneath your new Owl to catch wastes. have fun poking your
              Owl with thin, sharp bamboo slivers. keep the owl on constant
              multiple antibiotics, and switch these up so skin sepsis doesn’t set
              in.

 II.   Guidelines Calculation

              The government agrees with the Probation Department that the applicable
Guidelines calculation is as follows:

       Count One
             Base Offense Level (§ 2A6.1(a)(1))                                             12
             Plus:   The offense involved more than two threats (§2A6.1(b)(2)(A))           +2
             Total:                                                                         14

       Count Six
             Base Offense Level (§ 2A6.1(a)(1))                                             12
             Plus:   The offense involved more than two threats (§2A6.1(b)(2)(A))           +2
             Total:                                                                         14

Grouping Analysis (§§ 3D1.2; 3D1.4):        Level          Units
Count One                                    14              1
Count Six                                    14              1
Total Units                                                  2




                                               3
Offense Level Calculation
             Highest Offense Level (§ 3D1.4)                                               14
             Increase in Offense Level (§ 3D1.4)                                           +2

Total Offense Level                                                                        16

The Probation Department calculated that the defendant’s criminal history score is 0, and that
his Criminal History Category therefore is I. PSR ¶ 67. After three levels are subtracted
from the total offense level of 16 to reflect the defendant’s timely acceptance of
responsibility, the resulting offense level is 13. This results in a Guidelines range of 12 to 18
months’ imprisonment.

III.   Analysis

                The government respectfully submits that a sentence at the top-end of the
Guidelines range of 12 to 18 months’ imprisonment is appropriate in light of the factors set
forth in 18 U.S.C. § 3553(a). Interpreting the Supreme Court’s decision in United States v.
Booker, the Second Circuit has held that “sentencing judges remain under a duty with
respect to the Guidelines . . . to consider them, along with the other factors listed in section
3553(a).” United States v. Crosby, 397 F.3d 103, 111 (2d Cir. 2005). “While district courts
enjoy discretion following Booker, that discretion must be informed by the § 3553(a)
factors[.]” Id. at 132 (internal quotation marks omitted). In this case, the factors set forth in
18 U.S.C. § 3553(a) weigh in favor of top-end of the Guidelines sentence.

                Here, the defendant’s conduct has literally uprooted lives and destroyed
careers. For example, Jane Doe #1 was forced to deal with the stress of the defendant’s
increasingly threatening emails for nearly twenty years. Jane Doe #1 was forced to move
overseas due to the fear that the defendant would carry out his disgusting threats to her or
members of her family. Similarly, the narratives provided by the additional victims detailed
in the PSR demonstrate the defendant’s long term campaigns of harassment, stalking, and
threats to injure.

                A top-end of the Guidelines sentence is also necessary here in order to ensure that
the sentencing goals of specific and general deterrence are appropriately met. With respect to
specific deterrence, the imposition of a meaningful prison sentence will likely deter the
defendant from reoffending. With regard to general deterrence, a top-end of the Guidelines
sentence will send a strong message to the community that this type of criminal conduct will be
punished with a term of incarceration. Such a sentence will make plain that online internet
harassment, will simply not be tolerated.

IV.    Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
impose a sentence at or near 18 months’ imprisonment, the top end of the applicable Guidelines,



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which is sufficient, but not greater than necessary, to achieve the goals of sentencing. See
U.S.S.G. § 3553(a)(2).


                                                     Respectfully submitted,

                                                     RICHARD P. DONOGHUE
                                                     United States Attorney

                                             By:      /s/
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cc:    Amanda David, Esq. (by ECF and Email)
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